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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION

In re:                                 §
                                       §
SCOTT VINCENT VAN DYKE                 §        Case No. 21-60052
                                       §
      Debtor.                          §        Chapter 7 Case
                                       §
_____________________________________________________________________________

              ORDER CONFIRMING ABSENCE OF THE AUTOMATIC STAY
                             [Relates to Dkt. No. 174]

         Upon the record of the hearing held on September 28, 2022, it is hereby ORDERED THAT:

         1.     The automatic stay provisions provided by 11 U.S.C. § 362 were previously lifted

by this Court’s prior orders and do not stay Eva Engelhart, Chapter 7 Trustee for the estate of

Anglo-Dutch Petroleum International, Inc. (the “ADPI Trustee”), from filing a constructive trust

action in Texas state court pertaining to the fraudulent transfers at issue and resolved via final

judgment in Engelhart v. Van Dyke, Case No. 4:19-cv-02894, United States District Court for the

Southern District of Texas.

         2.     Except for filing, requesting citation for, and serving the to-be-filed Texas state

court constructive trust action, the ADPI Trustee shall not take any other actions in the to-be-filed

constructive trust action without further order of the Court.

         3.     The fourteen-day stay provided under Federal Rule of Bankruptcy Procedure

4001(a)(3) will not apply and this Order will be effective immediately upon its entry.

         4.     The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.
